         Case 1:18-cv-02340-RJL Document 81 Filed 04/26/19 Page 1 of 20



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA, et al.,

                     Plaintiffs,
        v.
                                                       Civil Action No. 1:18-cv-02340-RJL
    CVS HEALTH CORPORATION; and
    AETNA INC.,

                     Defendants.


                                   CVS’S MOTION TO EXCLUDE

        CVS Health Corp. (“CVS”) respectfully moves to exclude, from the record on which this

Court will make its public interest determination pursuant to the Antitrust Procedures and

Penalties Act (“Tunney Act”), 15 U.S.C. § 16, any witness testimony and other evidence and

argument pertaining to purported antitrust concerns other than the violations alleged in the

Complaint.

        The issue before the Court is whether entry of the proposed Final Judgment is in the

public interest in light of the government’s allegation that the CVS/Aetna merger would

otherwise cause anticompetitive effects in the individual Medicare Part D plan market in certain

geographic regions. See ECF No. 1 (Compl.), ¶¶ 30–40. Yet the amici curiae recognized by the

Court (“Amici”)1 have made clear they intend to use these Tunney Act proceedings as a platform

to present theories of purported harms to competition that the government has not alleged—

theories the government in fact rejected after a lengthy and thorough review. Amici propose to




1
  Amici include the AIDS Healthcare Foundation (“AHF”), American Medical Association
(“AMA”), Consumer Action, U.S. PIRG, Pharmacists United for Truth and Transparency
(“PUTT”), and Pharmacists Society of the State of New York (“PSSNY”).


                                                1
          Case 1:18-cv-02340-RJL Document 81 Filed 04/26/19 Page 2 of 20



offer these irrelevant theories through witnesses who plan to represent competitors’ interests

rather than the public interest. For example:

                 Amicus AHF’s proposed expert witnesses seek to testify on “the effect of
                  increased vertical integration” and “the lack of . . . consumer benefits from the
                  merging parties’ strategies of vertical integration and diversification.” ECF No.
                  76 at 2–3. These issues have nothing to do with competition in the Part D
                  industry, and everything to do with AHF’s own interest in weakening its
                  competitor in the retail medical clinic, pharmacy, and health insurance markets.

                 Amicus AMA, whose members compete with CVS, plans to sponsor testimony
                  that the merger will increase the cost of retail pharmacy inputs available to CVS’s
                  rivals and that the integration of the PBM/health insurance businesses increases
                  the danger of collusion. This testimony furthers AMA’s members’ interests in
                  preventing competition from lower-priced, higher quality, and more convenient
                  alternatives to traditional doctor’s office visits, but it has nothing to do with the
                  relevant question: whether the proposed Final Judgment is in the public interest.

                 Amici Consumer Action and U.S. PIRG propose an expert witness, Diana Moss,
                  to testify about “vertical considerations” and the alleged anticompetitive effects of
                  integrating CVS’s retail pharmacy, PBM, and health insurance businesses. ECF
                  No. 75 at 4. These Amici are represented by a lawyer who has consistently
                  supported anti-competitive restrictions on pharmacy services in his capacity as
                  general counsel to an organization whose members compete with CVS’s
                  pharmacies.

        Such evidence and arguments are irrelevant to the proposed Final Judgment and threaten

to turn this Tunney Act proceeding into a forum for airing competitors’ grievances about the

CVS-Aetna merger and about the healthcare industry more generally. That is not what Tunney

Act review is for, as the statute and its legislative history make clear. The Court accordingly

should limit the presentations at any evidentiary hearing to evidence and argument pertaining to

the remedy for the alleged harm in the Medicare Part D plan market asserted in the Complaint. It

also should exclude from the record Amici’s written submissions, to the extent they stray beyond

that issue.

        In light of Amici’s witness list submissions, CVS also respectfully suggests that the Court

should exercise its discretion to dispense altogether with an evidentiary hearing with live witness



                                                    2
         Case 1:18-cv-02340-RJL Document 81 Filed 04/26/19 Page 3 of 20



testimony. Amici’s submissions demonstrate that such a hearing is unnecessary in light of the

considerable record already before the Court, and Amici’s planned presentations, consisting

almost exclusively of unreliable competitor testimony on issues that are not relevant to the

Court’s Tunney Act determination, will add little, if anything, of value.

                                        BACKGROUND

       On October 10, 2018, the United States and five States filed a civil antitrust Complaint,

pursuant to Section 7 of the Clayton Act, 15 U.S.C. § 18, seeking to enjoin CVS’s acquisition of

Aetna on the ground that it would substantially lessen competition for the sale of individual

prescription drug plans in 16 of 34 geographic regions nationwide. In accordance with § 16(b)

of the Tunney Act, the United States simultaneously filed, and caused to be publicly published, a

proposed Final Judgment; a Stipulation signed by the parties consenting to entry of the proposed

Final Judgment after compliance with the requirements of the Tunney Act; and a Competitive

Impact Statement detailing the history of the transaction, the remedy proposed for the alleged

violation, and an evaluation of alternatives considered by the United States.

       The remedy is CVS’s full divestiture of Aetna’s individual prescription drug plan (PDP)

business to WellCare Health Plans, Inc., a Fortune 500 health insurer with experience in the PDP

industry, as well as additional measures to ensure the continued competitiveness of the divested

assets. The remedy required CVS to divest Aetna’s entire PDP business, in all 34 geographic

regions, even though the government found likely harm in only 16 of them.

       The Court granted the United States’ motion to appoint a monitoring trustee to oversee

the divestiture to WellCare and to ensure compliance with the requirements set forth in the

proposed Final Judgment. In addition, after a hearing and after receiving written submissions,




                                                 3
           Case 1:18-cv-02340-RJL Document 81 Filed 04/26/19 Page 4 of 20



the Court accepted CVS’s proposed voluntary measures to facilitate the Court’s Tunney Act

review.

          During the period for public comment, the United States received 173 public comments.

Among the public commenters were six advocacy groups (Amici) who requested and received

leave to participate in these proceedings as amicus curiae. All of the Amici devoted significant

portions of their briefs, supplemental submissions and public comments to vertical concerns

about the combination of CVS’s pharmacy and PBM businesses with Aetna’s health insurance

business. Although the United States and the five States had determined not to raise these issues

in their Complaint—because an extensive investigation had revealed such vertical harms were

unlikely to occur—the United States nonetheless provided responses to these vertical concerns,

as well as to the horizontal concerns that properly form the basis of the Court’s Tunney Act

determination, that were described in the 173 public comments that it received. ECF No. 56.

          On February 25, 2019, the United States moved for entry of the proposed Final

Judgment. ECF. No. 25. After a status conference, the Court ordered the parties and Amici to

provide lists of witnesses they proposed to offer at a hearing on the United States’ motion, as

well as information regarding the bases of each proposed witness’s knowledge or expertise and

the subject matters to be covered in each witness’s testimony. ECF No. 70.

          On April 19, 2019, Amici filed their proposed witness lists. ECF Nos. 74–76. These

submissions confirm Amici’s intent to adduce testimony on issues well beyond the scope of the

Court’s Tunney Act review. For the reasons discussed below, the Court should exclude such

evidence and argument and, because Amici’s proffered evidence is almost entirely immaterial, it

should now exercise its discretion to decline to hold an evidentiary hearing.




                                                 4
         Case 1:18-cv-02340-RJL Document 81 Filed 04/26/19 Page 5 of 20



                                           ARGUMENT

I.     Evidence and Argument Should Be Limited to the Sufficiency of the Proposed
       Remedy in Addressing the Antitrust Violations Alleged in the Complaint.

       The Court should instruct all participants in these proceedings to limit their evidence and

arguments in any upcoming Tunney Act hearing to the sufficiency of the asset divestiture and

related measures to remedy the alleged loss of competition within the individual Medicare Part D

plan market, and should exclude all other evidence and arguments from the record.

       A.      Amici Intend To Offer Evidence Beyond the Scope of These Proceedings.

       By their written submissions and witness lists, Amici have made clear they intend to offer

witness testimony and argument addressing purported vertical concerns about the merger of

CVS’s pharmacy, PBM, and healthcare businesses with Aetna’s health insurance business.

Amici devote much of their briefing to the alleged possibility that CVS could use its

participation in the pharmacy and PBM industries to disadvantage competing health plans, or

that CVS could use its participation in the health insurance industry to disadvantage competing

healthcare providers. Their proposed witness lists confirm that the testimony they seek to

introduce will provide more of the same:

       AIDS Healthcare Foundation (“AHF”). AHF—a $1.6 billion healthcare organization that

competes directly with CVS/Aetna’s retail medical clinics, pharmacies, and health insurance

businesses—intends to introduce testimony pertaining almost exclusively to broad vertical

concerns not alleged in the Complaint. AHF argues that the merger will enable CVS to

incentivize Aetna patients to use lower cost CVS pharmacies and MinuteClinics instead of the

clinics and pharmacies of higher-cost healthcare providers such as AHF, and will eliminate

Aetna as a potential competitor in the PBM industry. See ECF No. 60.

       The subject matter of AFH’s proposed witness testimony reflects the same focus:



                                                5
         Case 1:18-cv-02340-RJL Document 81 Filed 04/26/19 Page 6 of 20



              AHF’s two expert witnesses, Hal Singer and Lawton Burns, seek to testify on “the
               effect of increased vertical integration” and “the lack of . . . consumer benefits
               from the merging parties’ strategies of vertical integration and diversification.”
               ECF No. 76 at 2–3. Notably, the terms “Medicare,” “Part D,” “WellCare,”
               “Prescription Drug Plans,” and “divestiture” do not appear anywhere in AHF’s
               description of their planned testimony.

              Although little can be ascertained from AHF’s description of the subject matter of
               Michael Wohlfeiler’s proposed fact testimony, it also makes no mention of
               Medicare Part D and AHF’s briefing to date strongly suggests that his description
               of the “increasing consolidation in the health care industry” also will focus on
               vertical concerns.

       American Medical Association (“AMA”). AMA’s amicus brief relies on and appends the

statements of Neeraj Sood and Thomas Greaney for their analyses of vertical issues outside the

scope of these proceedings. AMA has now proposed both as expert witnesses for the upcoming

hearing and has indicated they will testify on those issues. See ECF No. 74 at 3–9. For example:

              Sood and Greaney plan to testify that the merger will increase the cost of retail
               pharmacy inputs available to CVS’s rivals and that the integration of the
               PBM/health insurance markets increases the danger of collusion. Id. at 5, 7.

              Although AMA argues its witnesses will tie some of this testimony to the likely
               effects on WellCare’s competitive strength as the divestiture asset buyer, AMA’s
               amicus brief—which relies heavily on the findings of both Sood and Greaney—
               suggests it intends to use perfunctory references to WellCare as purported
               justification for extensive exposition of vertical issues that are irrelevant to the
               harms alleged in the Complaint. See ECF 62 at 10–20; see also Exs. E–H
               (statements of Neeraj Sood).

              AMA also seeks to call Richard Scheffler to present arithmetic, without any
               apparent specialized knowledge of the Part D industry or analysis of competitive
               effects. ECF No. 74 at 2.

       Consumer Action and U.S. PIRG. These groups’ proposed expert witness, Diana Moss,

also plans to testify about alleged vertical concerns. Moss is well-known for her extensive

criticism of this Court’s ruling declining to enjoin the vertical merger of AT&T and Time

Warner. Similarly, here, she supposedly “will testify that vertical considerations bear directly on

the likely effectiveness of the divestiture remedy in the relevant markets for the sale of PDPs that



                                                 6
         Case 1:18-cv-02340-RJL Document 81 Filed 04/26/19 Page 7 of 20



are alleged in the complaint,” but also intends to speak broadly on the alleged anticompetitive

effects of integrating CVS’s retail pharmacy, PBM, and health insurance businesses, particularly

for standalone rivals who do not offer both PBM and health insurance services. ECF No. 75 at 4.

In their amicus briefs, Consumer Action and U.S. PIRG relied on Moss’s work solely to support

their arguments regarding the general vertical implications of the merger, not for any analysis

about the sufficiency of the remedy viewed in light of the harms proposed in the Complaint. See

ECF No. 34 at 6, 18; ECF No. 71 at 10.

       B.      The Tunney Act Does Not Permit the Scope of Review Amici Seek.

       In the event the Court permits Amici’s witnesses to testify, they should be instructed to

tailor closely any testimony to their assessment of the merger’s effects on the individual

Medicare Part D plan industry and the sufficiency of the proposed remedy. AHF’s planned

testimony regarding the general vertical effects of the merger should be excluded, as should any

attempt by AMA, Consumer Action, and U.S. PIRG to shoehorn into the record irrelevant

testimony on vertical issues in the guise of addressing WellCare’s ability to compete in Medicare

Part D. These alleged vertical concerns have no place in an evidentiary hearing on whether the

proposed Final Judgment is in the public interest.

       The public interest inquiry under the Tunney Act necessarily is a “limited” one: Because

the Government “is entitled to ‘broad discretion to settle with the defendant within the reaches of

the public interest,’” the courts “may not ‘engage in an unrestricted evaluation of what relief

would best serve the public.’” United States v. U.S. Airways Grp., Inc., 38 F. Supp. 3d 69, 75

(D.D.C. 2014) (quoting United States v. Microsoft Corp., 56 F.3d 1448, 1461 (D.C. Cir. 1995);

United States v. Graftech Int’l, No. 10–cv–2039, 2011 WL 1566781, at *12 (D.D.C. Mar. 24,

2011)). The only issue that calls for judicial scrutiny is whether the Government has

demonstrated “that the settlement is a reasonably adequate remedy for the harms alleged in the


                                                 7
         Case 1:18-cv-02340-RJL Document 81 Filed 04/26/19 Page 8 of 20



complaint.” United States v. Republic Servs., Inc., 723 F. Supp. 2d 157, 160 (D.D.C. 2010)

(citing United States v. Abitibi–Consol. Inc., 584 F. Supp. 2d 162, 165 (D.D.C. 2008)).

       The United States and five States decided not to allege any harm related to vertical

concerns in their Complaint because they determined, after an extensive 10-month investigation,

that such vertical harms are unlikely to occur. See ECF No. 56 at 8-12. Amici should not be

permitted to second-guess this determination by presenting irrelevant evidence, in an effort to

divert attention and resources from the Complaint’s actual allegations.2

       Amici’s references to a purported “judicial mockery exception” do not justify permitting

inquiry into purported harms not alleged in the Complaint. See ECF No. 34 at 1, 17; ECF No.

34-1 at 1; ECF No. 35 at 10; ECF No. 60 at 8. Amici’s argument relies on a misreading of

Microsoft. There, the D.C. Circuit concluded that, because “neither [the courts nor amici] have

the power to force the government to make [a] claim,” the proper focus of the court’s inquiry is

to determine whether “the remedies were [] so inconsonant with the allegations charged as to fall

outside of the reaches of the public interest.” Microsoft Corp., 56 F.3d at 1460, 1461 (emphasis

added) (internal quotation marks omitted). It is in that rare circumstance of extreme

dissonance—between the consent decree and the Complaint, not the Complaint and speculation

as to what the government might have charged—that the court is “not obliged to accept [a




2
  The Tunney Act’s legislative history further confirms this point. In response to the Antitrust
Division’s concern “that a judge reading this legislation may feel compelled to run a rather
broad-ranging inquiry,” Senator Tunney stated unequivocally, “We don’t want the judge to run a
broad-ranging inquiry. That is not the purpose.” The Antitrust Procedures and Penalties Act:
Hearing on S. 782 & S. 1088 Before the Subcomm. on Antitrust & Monopoly of the S. Comm. on
the Judiciary, 93d Cong., 1st Sess. 107 (March 16, 1973) (statement of Sen. John Tunney).
Senator Tunney further explained that the purpose of the Act was to establish a review process
that respects that “a judge has a role to play in making an evaluation as to whether or not the
consent decree achieves the goal of the complaint.” Id. (emphasis added).


                                                8
         Case 1:18-cv-02340-RJL Document 81 Filed 04/26/19 Page 9 of 20



decree] that, on its face and even after government explanation, appears to make a mockery of

judicial power.” Id. at 1462.

       The Microsoft Court devoted most of its decision to a comprehensive analysis of the

respective “constitutional role[s]” of the executive and judicial branches in connection with a

consent decree. The court’s “mockery” language cannot reasonably be read to create an

exception to that analysis—such an exception would swallow the rule. Perhaps for that reason,

no court has ever used the Microsoft Court’s “mockery” reference to reject a consent decree,

much less to rewrite the allegations that the government has, in the exercise of its prosecutorial

discretion, chosen to bring. Such an outcome could not be reconciled with the legal reality that

“[t]he court’s authority to review the decree depends entirely on the government’s exercising its

prosecutorial discretion by bringing a case in the first place.” Id. at 1459–60.

       The Court therefore should limit all evidence and argument to the issues germane to its

Tunney Act determination: whether entry of the proposed Final Judgment would be in the public

interest in light of the harms alleged in the Complaint. All other evidence and argument should

be excluded.

II.    In Light of Amici’s Proposed Witnesses and Testimony, the Court Should Exercise
       Its Discretion To Decline To Hold an Evidentiary Hearing.

       Amici’s witness list submissions demonstrate that an evidentiary hearing is unnecessary,

both because the record already before the Court is sufficient to enable it to make its public-

interest determination, and because Amici propose to sponsor testimony that speaks only to

competitors’ interests, not the public interest.

       A.      An Evidentiary Hearing Is Unnecessary.

       Undersigned counsel are unaware of any Tunney Act proceedings in which a court has

heard live testimony. This is consistent with the Act’s legislative history, which reveals



                                                   9
         Case 1:18-cv-02340-RJL Document 81 Filed 04/26/19 Page 10 of 20



Congress disfavored sweeping inquiries and intended for witness testimony to serve only as a

last resort, in the rare case where written submissions proved insufficient to demonstrate whether

a settlement is in the public interest.

        The Tunney Act requires certain procedures to ensure that the public is afforded a

meaningful opportunity to “scrutinize and comment upon” proposed consent decrees arising out

of civil antitrust suits brought by the United States. United States v. Airline Tariff Pub. Co., 836

F. Supp. 9, 11 (D.D.C. 1993). Although the Act expressly allows the court to make its public

interest determination without further process, 15 U.S.C. § 16(e)(2), the Court has discretion to

fashion additional procedures where it determines they are necessary, id. § 16(f). United States

v. Enova Corp., 107 F. Supp. 2d 10, 17 (D.D.C. 2000).

        The legislative history demonstrates Congress’s intent that the courts exercise that

discretion in favor of conserving time and judicial resources wherever possible. In their reports

recommending the passage of the Tunney Act, both the Senate and House Judiciary Committees

sought to balance the court’s need to obtain information with its need to “preserve the consent

decree as a viable settlement option.” S. Rep. No. 93-298, at 6 (1973); H. Rep. No. 93-1463, at 8

(1974). As the Senate Judiciary Committee explained, and the House Judiciary Committee

reiterated:

                It is not the intent of the Committee to compel a hearing or trial on
                the public interest issue. It is anticipated that the trial judge will
                adduce the necessary information through the least complicated and
                least time-consuming means possible. Where the public interest can
                be meaningfully evaluated simply on the basis of briefs and oral
                arguments, this is the approach that should be utilized. Only where
                it is imperative that the court should resort to calling witnesses for
                the purpose of eliciting additional facts should it do so.




                                                 10
         Case 1:18-cv-02340-RJL Document 81 Filed 04/26/19 Page 11 of 20



S. Rep. No. 93-298, at 6; see H. Rep. No. 93-1463, at 8 (underscoring agreement with this

passage).3

       This case proves the point. The Court has shown great care in protecting the public right

to participate in the Tunney Act process, resulting in 173 public comments and comprehensive

briefing from six Amici. To the extent the Court has outstanding questions about the adequacy

of the divestiture in remedying the loss of competition alleged in the Complaint, “the public

interest can be meaningfully evaluated simply on the basis of briefs and oral arguments.” S.

Rep. No. 93-298, at 6; H. Rep. No. 93-1463, at 8; see also United States v. Apple, Inc., 889 F.

Supp. 2d 623, 633 (S.D.N.Y. 2012) (“It is not necessary to hold an evidentiary hearing before

approving the decree. Given the voluminous submissions from the public and the non-settling

parties, which describe and debate the nature of the alleged collusion and the wisdom and likely

impact of settlement terms in great detail, as well as the detailed factual allegations in the

Complaint, the Court is well-equipped to rule on these matters.”); cf. United States v. SBC

Commc’ns, Inc., 489 F. Supp. 2d 1, 9 (D.D.C. 2007) (ordering additional submissions and

declining to hold evidentiary hearing where there was “insufficient material in the record, which

consisted largely or exclusively of unverified legal pleadings, to allow the Court to adequately

discharge its duties”).


3
  The Committees’ emphasis on judicial economy is echoed elsewhere in the legislative record.
In legislative hearings, for example, Senator Tunney emphasized that procedures such as the
“taking of sworn testimony” would be “optional with the court” and expressed confidence “that
the court would use those options rather sparingly, and only if the court decided that it was in the
public interest to require them.” Antitrust Procedures & Penalties Act: Hearing on S. 782 & S.
1088 Before Subcomm. on Antitrust & Monopoly of S. Comm. on Judiciary, 93d Cong., 1st Sess.
99 (March 16, 1973) (statement of Sen. John Tunney). He further explained that “in the great,
great majority of cases, the court would not require such a full hearing.” Id. And the 2004
amendments to the Act further confirmed that “[n]othing in this section shall be construed to
require the court to conduct an evidentiary hearing or to require the court to permit anyone to
intervene.” 15 U.S.C. § 16(e)(2).


                                                  11
         Case 1:18-cv-02340-RJL Document 81 Filed 04/26/19 Page 12 of 20



       B.      Amici’s Witness Lists Demonstrate that an Evidentiary Hearing Would
               Feature Testimony on Competitors’ Interest, Not the Public Interest.

       It is apparent from Amici’s submissions that they intend to use the proposed evidentiary

hearing to further their competitive interests and not the public interest. As this Court has

recognized, “particularly in the context of a vertical merger case,” competitor opposition to a

merger should be viewed with skepticism because “there is a threat that such testimony reflects

self-interest rather than genuine concerns about harm to competition.” United States v. AT&T

Inc., 310 F. Supp. 3d 161, 211 (D.D.C. 2018), aff’d sub nom. United States v. AT&T, Inc., 916

F.3d 1029 (D.C. Cir. 2019); see also id. (“Not surprisingly, most of the third-party competitor

witnesses testified that they oppose the challenged merger for a number of reasons.”).

       This concern is especially important in the Tunney Act context. As Dr. Donald Turner,

former Assistant Attorney General of the Antitrust Division, explained prior to the legislation’s

enactment, “[C]ompetitors of a defendant have a private interest in seeing him as crippled as

possible . . . which may be inconsistent with the public interest in competition.” Hearing on S.

782 & S. 1088 Before the Subcomm. on Antitrust & Monopoly of the S. Comm. on the Judiciary,

93d Cong., 1st Sess. 200 (April 5, 1973). When recommending the legislation’s enactment, both

the Senate and House Judiciary Committees took pains to distinguish competitor interests from

the public interest, stressing that codifying the courts’ public interest determination was not

“intended to force the government to go to trial for the benefit of potential private plaintiffs,” and

that DOJ’s “primary focus . . . should be to obtain a judgment . . . which protects the public by

insuring healthy competition in the future.” S. Rep. No. 93-298, at 6; H. Rep. No. 93-1463, at 8.

       This Court correctly rejected competitor testimony opposing the AT&T/Time Warner

merger, noting that the “central issue” in that case was “not about protecting AT&T’s rivals from

any and all competitive pressures they would experience should the merger go through.” AT&T,



                                                 12
        Case 1:18-cv-02340-RJL Document 81 Filed 04/26/19 Page 13 of 20



310 F. Supp. 3d at 211; see id. at 214 (discounting competitor testimony because “the third-party

competitor witnesses have an incentive to oppose a merger that would allow AT&T to increase

innovation while lowering costs”); id. at 211 (“third-party competitor witness testimony fails to

provide meaningful, reliable support”). For example, in examining the defendants’ statements in

prior regulatory filings, the Court concluded that “they acted as competitors to (or customers of)

distributors whose competitive positions would be affected by FCC review. For that reason

alone, [the Court is] hesitant to assign any significant evidentiary value to those prior regulatory

filings.” Id. at 205–06.4

       Yet the witnesses who appear on Amici’s lists, and Amici’s description of their proposed

testimony, make clear that Amici view this hearing as an opportunity “to force the government to

go to trial for [the Amici’s own] benefit,” rather than to engage issues that bear upon the public

interest. The absence of “meaningful, reliable” evidence, id. at 211, in Amici’s submissions

further illustrates these competitors’ attempt to weaponize this Tunney Act proceeding against a

pro-competitive merger.




4
 This Court is not alone in its skeptical take on competitor complaints about a merger. See, e.g.,
Hospital Corp. of Am. v. FTC, 807 F.2d 1381, 1391-92 (7th Cir. 1986) (Posner, J.) (“Hospital
Corporation’s most telling point is that the impetus for the Commission’s complaint came from a
competitor . . . . The hospital that complained to the Commission must have thought that the
acquisitions would lead to lower rather than higher prices—which would benefit consumers, and
hence, under contemporary principles of antitrust law, would support the view that the
acquisitions were lawful.”); cf. Sprint Nextel Corp. v. AT&T Inc., 821 F. Supp. 2d 308, 320
(D.D.C. 2011) (allegations by competitors to merging parties that the transaction would lead to
higher retail wireless prices did not confer antitrust standing because,“[t]o the contrary, ‘You
want your competitors to charge high prices.’”) (citation omitted).


                                                 13
        Case 1:18-cv-02340-RJL Document 81 Filed 04/26/19 Page 14 of 20



               1.      AMA Competes with CVS in Multiple Businesses.

       As a trade association and lobbying group for doctors, AMA is committed to “protecting

physician payment”5 and has sought to impede CVS’s innovations to protect the financial

interests of its members. CVS’s convenient, low-cost MinuteClinics and telemedicine offerings

lessen patient demand for medical services provided in doctors’ offices,6 and CVS’s home

healthcare services and low-cost specialty pharmacy business cut into the infusion services

doctors provide at hospitals and other higher-cost settings as well as the specialty drugs that

doctors prescribe and administer. As the FTC has observed, retail clinic innovation also benefits

consumers by increasing competition and spurring necessary change: physician groups and

hospitals have been forced to respond to retail clinics by making their services more accessible,

establishing their own clinics, and extending their hours.7

       AMA opposes the CVS/Aetna merger because it will expand MinuteClinics’ retail

footprint, scope of services, and hours8—to the great benefit of the public but to the detriment of

traditional healthcare providers. MinuteClinics offer high-quality care9 and many pro-




5
 Am. Med. Ass’n, Physicians Advocacy, https://www.ama-assn.org/amaone/physicians-
advocacy.
6
  See Press Release, CVS Health, CVS Health’s MinuteClinic Introduces Virtual Care Offering
(Aug. 8, 2018), https://cvshealth.com/newsroom/press-releases/cvs-healths-minuteclinic-
introduces-new-virtual-care-offering.
7
 Fed. Trade Comm’n, Policy Perspectives: Competition and the Regulation of Advanced
Practice Nurses 33 (Mar. 2014), https://www.ftc.gov/system/files/documents/reports/policy-
perspectives-competition-regulation-advanced-practice-nurses/140307aprnpolicypaper.pdf.
8
 See Press Release, CVS Health, CVS Health Completes Acquisition of Aetna (Oct. 10, 2018),
https://cvshealth.com/newsroom/press-releases/cvs-health-completes-acquisition-of-aetna-
marking-the-start-of-transforming-the-consumer-health-experience.
9
  See Blue Cross Blue Shield, Retail Clinic Visits Increase Despite Use Lagging among
Individually Insured Americans, at 8 (Jan. 18, 2017), https://www.bcbs.com/the-health-of-
america/reports/retail-clinic-visits-increase-despite-use-lagging-among-individually (concluding


                                                 14
         Case 1:18-cv-02340-RJL Document 81 Filed 04/26/19 Page 15 of 20



competitive innovations to patients10 but cost 30% to 40% less than similar care at physician

offices and about 80% less than similar care in emergency rooms.11 Recognizing “that retail

clinics pose a financial threat to primary care providers by treating the latter’s most profitable

patients,” AMA has thus developed an official strategy to “address[] the alliance of retail clinics

with pharmaceutical chains” by lobbying “state and federal agencies to investigate” these

competitors and advocating for new laws that make it more difficult for retail clinics to operate.12

AMA’s proposed witness testimony reflects a continuation of this self-interested strategy.

       AMA’s members also oppose the merger because it threatens to expand CVS’s low-cost

specialty pharmacy business and home infusion services. The growth in low-cost specialty

pharmacies undermines the significant income that many doctors derive from prescribing and

administering specialty drugs, at relatively high cost to consumers and the healthcare system.13

Similarly, CVS’s home infusion services business—which to date employs over 1,100 skilled

nurses and pharmacists—is a competitive alternative to traditional, high-cost medical care.

Studies show home infusion results in 50% fewer adverse effects compared to infusions in



that retail clinics “offer[] convenience, high-quality care and favorable prices compared to an ER
or doctor’s office visit”).
10
   These innovations include allowing patients to make appointments online on short notice;
posting wait times online so patients can better plan their visits; publishing straightforward price
lists for medical services; and offering more convenient hours of operation on nights and
weekends when doctors’ offices are often closed and patients may otherwise turn to expensive
emergency rooms—or forego necessary care.
11
  Ateev Mehrotra, et al., Comparing Costs and Quality of Care at Retail Clinics with That of
Other Medical Settings for 3 Common Illnesses, 151 Annals of Internal Med. 321 (2009).
12
   Council on Med. Serv., Am. Med. Ass’n, Report 7. Retail Health Clinics 266-67 (2017),
https://www.ama-assn.org/sites/ama-assn.org/files/corp/media-browser/public/hod/a17-cms-
reports.pdf.
13
  Peter Wehrwein, Should Specialty Drugs Be Shifted from Medical to Pharmacy Benefit?,
Managed Care (Jan. 17, 2015), https://www.managedcaremag.com/archives/2015/1/should-
specialty-drugs-be-shifted-medical-pharmacy-benefit.


                                                 15
        Case 1:18-cv-02340-RJL Document 81 Filed 04/26/19 Page 16 of 20



hospitals or other medical settings at a savings of between $1,928 and $2,974 per course of

treatment.14

       The planned testimony of AMA’s proposed witnesses clearly reflects the tension between

the financial interests of AMA and its members, on the one hand, and patient interests, on the

other. This testimony will not shed light on the public interest and should therefore be excluded.

               2.      AHF Competes with CVS in Multiple Businesses.

       Like AMA, AHF seeks to use its status as an amicus curiae to undermine a competitor

rather than to offer any relevant analysis regarding the public interest. AHF does not operate a

Part D plan and does not act for Part D consumers. But as a health insurer, pharmacy operator,

and clinic operator with a budget of $1.6 billion, AHF competes with CVS/Aetna in virtually all

of AHF’s lines of business—the ones that have no relevance to these proceedings. As an

operator of Managed Medicaid and Medicare Advantage insurance plans in California, Florida,

and Georgia, AHF competes with Aetna for plan members. As a pharmacy operator with 46

locations nationwide,15 AHF competes with CVS’s retail, specialty, and mail order pharmacies;

AHF also negotiates pharmacy reimbursement rates from PBMs like CVS Caremark to secure

higher prices for its pharmacies and to get access to networks which PBMs have built for their

clients. And as a clinic operator, AHF competes with CVS’s MinuteClinics.

       Accordingly, AHF’s amicus brief is devoted almost entirely to vertical concerns or other

theories of harm that reflect its revenue interests as a competitor. It makes no substantive



14
  J.M. Polinski et al., Home Infusion: Safe, Clinically Effective, Patient Preferred, and Cost
Saving, 5 Healthcare (2017), https://www.healthnewsreview.org/wp-
content/uploads/2016/05/Home-infusion-CVS.pdf.
15
  AIDS Healthcare Found., Audited Consolidated Financial Statements and Supplementary
Information, at 6 (2017), https://www.aidshealth.org/wp-content/uploads/2018/05/aids-
healthcare-fs-2017-final.pdf.


                                                16
           Case 1:18-cv-02340-RJL Document 81 Filed 04/26/19 Page 17 of 20



arguments about horizontal issues such as WellCare’s viability as an asset buyer. Indeed, as

reflected in its arguments about the merger’s effects on its own profitability, AHF’s amicus brief

is transparent that AHF is acting in its own self-interest in this matter.16 AHF’s proposed witness

testimony has nothing to do with the Complaint or Medicare Part D. These witnesses should be

excluded, as Tunney Act proceedings are not a forum for a competitor’s airing of grievances

irrelevant to the harms alleged by the government.

                 3.     Consumer Action and U.S. PIRG Represent Plaintiff Lawyers’ and
                        Competitors’ Interests, Not the Public Interest.

          Consumer Action and U.S. PIRG have no apparent connection to Medicare Part D.17 But

their counsel are closely tied to competitors’ pharmacy groups. David Balto is general counsel

of the Independent Specialty Pharmacy Coalition,18 an organization whose members compete

with CVS’s pharmacies. Balto’s coalition has sought anti-competitive regulatory restrictions on

consumer access to mail-order pharmacy services.19 In addition, Consumer Action and U.S.

PIRG’s attorney Andre Barlow represents two other Amici in these proceedings whose members

are competitors to CVS pharmacies—PSSNY and PUTT. CVS previously highlighted that the

interests of PSSNY and PUTT are “implicated not by alleged anticompetitive harm arising from

the merger, but by the increased competitive pressure that the transaction is expected to create

for their membership.” See ECF No. 37 at 3-4.


16
  See ECF 50-1 at 3 (“There are three other markets that the Court should analyze—the health
care provider, PBM and pharmacy markets. In each of these markets the merger would lead to a
substantial lessening of competition that would harm AHF and its patients.”) (emphasis added)
17
  See Consumer Action, What We Do, https://www.consumer-action.org/about/list/C281; U.S.
PIRG, About U.S. PIRG, https://uspirg.org/page/usp/about-us-pirg-0.
18
     See Independent Specialty Pharmacy Coalition, http://www.ispcoalition.org/about-us.html.
19
   See The State of Competition in the Pharmacy Benefits Manager and Pharmacy Marketplaces:
Hearing Before the H. Judiciary Subcomm. on Regulatory Reform, Commercial & Antitrust Law
of the H. Comm. on the Judiciary, 114th Cong. (Nov. 17, 2015) (statement of David A. Balto).


                                                17
         Case 1:18-cv-02340-RJL Document 81 Filed 04/26/19 Page 18 of 20



       Similarly, the witness proposed by Consumer Action and U.S. PIRG, Diana Moss,

represents plaintiffs’ lawyers whose interests do not reflect the public interest but rather lie in

undercutting CVS/Aetna and its increased competitiveness as a result of the merger.20

                                          CONCLUSION

       For the forgoing reasons, CVS requests that this Court limit evidence and argument to the

horizontal issues raised in the Complaint, and to the remedy proposed by the government to

address those issues. CVS further requests that, in light of Amici’s submissions, the Court

exercise its discretion to decline to hold an evidentiary hearing with live witnesses.




20
   Moss is President of the American Antitrust Institute (“AAI”), which is largely funded and
operated by plaintiffs’ law firms. Several of AAI’s leaders have brought pending or past class
action lawsuits against CVS or Aetna. Ultimately, what Moss offers is unsubstantiated legal
advocacy lacking the analytical rigor or industry knowledge of an expert witness, and her
testimony is unlikely to assist the Court’s evaluation under the Tunney Act’s public interest
standard.


                                                  18
         Case 1:18-cv-02340-RJL Document 81 Filed 04/26/19 Page 19 of 20




Dated: April 26, 2019                   Respectfully submitted,


                                         /s/ Enu A. Mainigi
                                        Enu A. Mainigi
                                                D.C. Bar No. 454012
                                        Craig D. Singer
                                                D.C. Bar No. 445362
                                        Jonathan B. Pitt
                                                D.C. Bar No. 479765
                                        WILLIAMS & CONNOLLY LLP
                                        725 12th Street, N.W.
                                        Washington, D.C. 20005
                                        Telephone: (202) 434-5000
                                        Facsimile: (202) 434-5029
                                        E-Mail: emainigi@wc.com

                                        Michael G. Cowie
                                               D.C. Bar No. 432338
                                        Rani A. Habash
                                               D.C. Bar No. 981388
                                        Michael H. McGinley
                                               D.C. Bar No. 1006943
                                        DECHERT LLP
                                        1900 K Street, N.W.
                                        Washington, DC 20006
                                        Telephone: (202) 261-3300
                                        Facsimile: (202) 261-333
                                        E-Mail: mike.cowie@dechert.com

                                        Counsel for CVS Health Corporation




                                       19
        Case 1:18-cv-02340-RJL Document 81 Filed 04/26/19 Page 20 of 20




                                CERTIFICATE OF SERVICE

       I, Jonathan B. Pitt, hereby certify that on April 26, 2019, I caused a copy of the foregoing

document to be filed with the Court using the CM/ECF system, to be served upon Plaintiffs

United States of America, State of California, State of Florida, State of Hawaii and State of

Washingon via the CM/ECF system, and to be served upon Plaintiff State of Mississippi by

mailing the documents electronically to its duly authorized legal representative:

Counsel for State of Mississipi:
Crystal Utley Secoy
Consumer Protection Division
Mississippi Attorney General’s Office
P.O. Box 22947
Jackson, Mississippi 39225
Phone: (601) 359-4213
cutle@ago.state.ms.us


                                                   /s/ Jonathan B. Pitt
                                                   Jonathan B. Pitt
                                                   WILLIAMS & CONNOLLY LLP
                                                   725 12th Street, N.W.
                                                   Washington, D.C. 20005
                                                   Telephone: (202) 434-5000
                                                   Facsimile: (202) 434-5029
                                                   E-Mail: jpitt@wc.com
